       Case 1:23-cv-04738-KPF         Document 109        Filed 04/12/24      Page 1 of 2




UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK

SECURITIES AND EXCHANGE COMMISSION,

                                           Plaintiff,
                                                                       23 Civ. 4738 (KPF)
                         v.
COINBASE, INC. AND COINBASE GLOBAL, INC.,

                                       Defendants.




                     NOTICE OF COINBASE’S MOTION TO
           CERTIFY INTERLOCUTORY APPEAL UNDER 28 U.S.C. § 1292(b)

       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in Support

of Coinbase’s Motion to Certify Interlocutory Appeal Under 28 U.S.C. § 1292(b) dated April 12,

2024, and such other and further papers and proceedings as may be filed or had, Defendants

Coinbase, Inc. and Coinbase Global, Inc. (together, “Coinbase”), by and through undersigned

counsel, hereby move this Court before the Honorable Katherine Polk Failla, United States District

Judge, at the Thurgood Marshall United States Courthouse, 40 Foley Square, New York, New

York 10007, to certify for interlocutory appeal, pursuant to 28 U.S.C. § 1292(b), the Court’s

March 27, 2024 order on Coinbase’s Motion for Judgment on the Pleadings.
      Case 1:23-cv-04738-KPF   Document 109    Filed 04/12/24   Page 2 of 2




Dated: April 12, 2024              Respectfully submitted,
New York, New York

                                   WACHTELL, LIPTON, ROSEN & KATZ

                                   /s/ William Savitt
                                   .
                                                                     .




                                   William Savitt
                                   Kevin S. Schwartz
                                   Sarah K. Eddy
                                   Adam M. Gogolak
                                   David P.T. Webb
                                   Emily R. Barreca
                                   51 West 52nd Street
                                   New York, New York 10019
                                   (212) 403-1000
                                   wdsavitt@wlrk.com


                                   Steven R. Peikin
                                   Kathleen S. McArthur
                                   James M. McDonald
                                   Julia A. Malkina
                                   Olivia G. Chalos
                                   SULLIVAN & CROMWELL LLP
                                   125 Broad Street
                                   New York, New York 10004-2498
                                   (212) 558-4000

                                   Attorneys for Defendants




                                       -2-
